                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:99-CR-165-8-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 THURMAN LLEWELL MOBLEY,                           )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant would have benefitted from Amendment 706 had it been in effect at the time of

his sentencing, and for the reasons set forth in the Supplement to the Presentence Report he is

eligible for a sentence reduction.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant with a criminal history of drug



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trafficking who maintained a lengthy commitment to an extraordinarily violent drug conspiracy, used

firearms in furtherance of his crimes, personally participated in at least one armed home invasion

resulting in serious injury to the victims, and also has received several disciplinary citations

(including the possession of intoxicants) while in prison.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       a.      That the defendant should receive some benefit from the retroactive application of

               Amendment 706, but that a reduction to 128 months is inappropriate; and

       b.      That a sentence of 151 months is adequate, but no greater than necessary, to

               accomplish the objectives of 18 U.S.C. § 3553(a), while a further reduction would

               frustrate those objectives;1 and

       c.      That this sentence is within the amended guideline range applicable to Defendant by

               operation of Amendment 706..

       An appropriate Order shall issue separately.

                                                  Signed: October 8, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

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